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      ORDERED in the Southern District of Florida on May 4, 2018.




                                                 Laurel M. Isicoff
                                                 Chief United States Bankruptcy Judge




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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
      In re

      Craig Sizer
      aka Craig Vernon Sizer
      aka Craig V Sizer
                                                    CHAPTER        7
                                                    CASE NO.       17-25202-LMI
            Debtor(s)
      ______________________________/

       ORDER GRANTING MOTION FOR RELIEF FROM STAY (DOC. NO. 20) FILED BY
       U.S. BANK NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY BUT
              SOLELY AS TRUSTEE FOR THE RMAC TRUST, SERIES 2016-CTT
                           REGARDING REAL PROPERTY
              THIS CAUSE came on for hearing on April 30, 2018 upon the Motion For Relief From

      Stay filed on February 27, 2018 (Doc. No. 20) by U.S. BANK NATIONAL ASSOCIATION,

      NOT IN ITS INDIVIDUAL CAPACITY BUT SOLELY AS TRUSTEE FOR THE RMAC

      TRUST, SERIES 2016-CTT ("Creditor") regarding the following: REAL PROPERTY

      LOCATED: 555 NORTHEAST 57TH STREET MIAMI, FL 33137, LEGALLY DESCRIBED

      AS: LOT 13, BLOCK 17, OF BAYSHORE UNIT #2, ACCORDING TO THE PLAT

      THEREOF, AS RECORDED IN PLAT BOOK 9, PAGE 98, OF THE PUBLIC RECORDS OF
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MIAMI-DADE COUNTY, FLORIDA. (“Collateral”). For the reasons stated orally and recorded

in open court that shall constitute the decision of this Court, accordingly, it is

       ORDERED as follows:

       1.      Creditor's Motion For Relief From Stay is granted.

       2.      The automatic stay imposed by 11 U.S.C. Section 362 is hereby terminated to

permit Creditor to commence, or recommence as the case may be, prosecute, and complete

through final judgment, sale and issuance of a Writ of Possession and Certificate of Title a

mortgage foreclosure action in state court with respect to the (“Collateral”) described as: REAL

PROPERTY LOCATED: 555 NORTHEAST 57TH STREET MIAMI, FL 33137, LEGALLY
DESCRIBED AS: LOT 13, BLOCK 17, OF BAYSHORE UNIT #2, ACCORDING TO THE

PLAT THEREOF, AS RECORDED IN PLAT BOOK 9, PAGE 98, OF THE PUBLIC

RECORDS OF MIAMI-DADE COUNTY, FLORIDA.

       3.      The relief granted here permits the Creditor to seek and obtain in rem relief

against the collateral/property only and does not permit the Creditor to seek or obtain in

personam relief against the Debtor(s).

       4.      The fourteen (14) day period in Bankruptcy Rule 4001 (a)(3) shall not be waived

or reduced as requested in the Creditor's Motion. The automatic stay shall remain in effect until

the end of the fourteenth day following the date of the entry of this Order. The date of the entry

of the Order shall not be counted as the first day of the fourteen (14) day period.

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The foregoing is directed to serve copies of this Order upon the interested parties and file a
Certificate of Service with this Court.
